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                    IN THE UNITED STATES DISTRICT COURT FOR THE f
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                              EASTERN DISTRICT OF VIRGINIA                        P.—"      L       It

                                       Alexandria Division                    III    ® I 0 2019

UNITED STATES OF AMERICA                                  No. 1:19cr362       I     ALEXAMnRiri^D^.^,^;

               V,                                        Count 1: 18 U.S.C. § 1349
                                                         (Conspiracy to Commit Wire Fraud)
BRIAN M. CARPENTER,
       Defendant.                                        Counts 2-5: 18 U.S.C. §§ 1343 and 2
                                                         (Wire Fraud)

                                                          Forfeiture Notice



                                            Indictment


                         December 2019 Term ~ at Alexandria, Virginia

THE GRAND JURY CHARGES THAT:

                                  GENERAL ALLEGATIONS


At all times relevant to this Indictment, unless otherwise stated:

       1.      The defendant, BRIAN M. CARPENTER("CARPENTER"), was the owner and

operator of The Fiintstone Group LLC ("Flintstone"), which, among other things, facilitated the

sale and distribution ofjanitorial products. Flintstone was created on or about July 29,2011. Its

business address was located in Leesburg, Virginia, within the Eastern District of Virginia.

       2.      On or about February 28, 2012, CARPENTER opened a business checking and

payroll account for Flintstone at BB&T,account ending in 9838. The address associated with
the payroll account was in Ashbum, Virginia, within the Eastem District of Virginia.
       3.      Company #1 was co-owned and operated by A.I. CARPENTER purchased

janitorial products for clients of Flintstone through Company #1. In addition to Company #1,
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